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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




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 UNITED STATES OF AMERICA                                : CASE NO. 5: 07 CR 00563
                                                         :
                                             Plaintiff   :
                                                         : ORDER GRANTING DEFENDANTS’
                         -vs-                            : SEVERAL SEPARATE MOTIONS TO
                                                         : CONTINUE
                                                         :
 ERVIN THOMAS, et al.,                                   :
                                                         :
                                        Defendants       :
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UNITED STATES DISTRICT JUDGE LESLEY WELLS


        On 7 November 2007, the government unsealed a nineteen Count Indictment

against thirteen defendants, accused of possessing and conspiring to possess and

distribute cocaine in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C), 846, as well as

18 U.S.C. §§ 1952 & 1952. (Docket No. 1). The final pre-trial conference in this matter

is set for Monday 3 February 2008 at 3:30 p.m., while the trial is set for Monday 10

March 2008 at 9:00 a.m.

        The following defendants have moved this Court to continue the pre-trial and trial

dates: Ervic Thomas (1), Eddie Grant (2), Terrance Thomas (3), Leroy Grant (5), Mark

Jones (6), Meles Hailu Mezgebo (7), Veronica Guzman-Tellez (8), Gabriela Sarahy-

Guzman (9), and Leandre Lewis (12). (Respectively Docs. 125, 130, 126, 132, 123,

129, 131, 124, 128, 134).
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       The defendants have moved to continue the final pretrial and trial pursuant to

18 U.S.C. 3161. Defense counsel request additional time as necessary to

accommodate conflicting trial schedules, travel plans, and extended plea negotiations

with the government. The government has indicated it does not oppose the motion.

       The Court concludes that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial. Failure to

grant a continuance would deny defense counsel in this case the reasonable time

necessary to ensure their adequate preparation for either the pretrial proceedings or the

trial itself. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

       Therefore, the final pretrial conference and trial of this matter shall be continued

as to all named defendants. The dates for the trial, the final pretrial conference, and all

related deadlines will be set forth in a separate order.



       IT IS SO ORDERED.



                                             /s/Lesley Wells
                                           UNITED STATES DISTRICT JUDGE




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